               UNITED STATES DISTRICT COURT FOR THE
                  EASTERN DISTRICT OF TENNESSEE
                         AT GREENEVILLE


HERMAN ROSENBORO                            )
                                            )
v.                                          )            NO. 2:05-CV-15
                                            )                2:00-CR-71
UNITED STATES OF AMERICA                    )



                 MEMORANDUM OPINION AND ORDER

            This criminal matter is before the Court to consider the Report and

Recommendation, [Doc. 39 in 2:05-CV-15 and Doc. 327 in 2:00-CR-71], of the

United States Magistrate Judge dated March 27, 2008.          In that Report and

Recommendation, the Magistrate Judge recommends that the defendant’ motion to

vacate pursuant to Title 28 United States Code Section 2255, [Doc. 1 in 2:05-CV-15

and Doc. 267 in 2:00-CR-71], be denied. The defendant has filed objections to this

recommendation, [Doc. 40 in 2:05-CV-15].

            After careful and de novo consideration of the record as a whole, and

consideration of the Report and Recommendation of the United States Magistrate

Judge, and for the reasons set out in that Report and Recommendation, which are

incorporated by reference herein, and for the reasons discussed below, it is hereby



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ORDERED that the defendant’s objections are OVERRULED, that this Report and

Recommendation is ADOPTED and APPROVED, with the elaborations below, and

that the defendant’s motion to vacate be DENIED, [Doc. 1 in 2:05-CV-15 and Doc.

267 in 2:00-CR-71].

             Defendant objects to the Magistrate Judge’s reliance upon the affidavit

of the AUSA who tried the case and claims that it is improper hearsay testimony.

However, affidavits of counsel are relied upon by the courts in determining section

2255 motions. See Cummings v. United States, 84 Fed. App. 603, 605 (6th Cir.

December 15,2003) (District Court does not commit clear error by crediting defense

counsel’s affidavit stating that defendant had not asked counsel to file appeal); Odum

v. United States, 229 F.3d 1153 (Table, text at 2000 WL 1175598, *3 (6th Cir. 2000))

(It is not clearly erroneous for district court to rely on affidavit by defense counsel

stating that defendant never requested his counsel to file appeal); Robinson v. United

States, 2005 WL 2417045, **3-4 (E.D. Tenn. Sept. 30, 2005). In addition, this Court

accepts the other reasons stated in the Magistrate Judge’s Report and

Recommendation in finding that trial counsel was not ineffective.

             In the defendant’s fourth objection, he objects to the recommendation

that the petitioner be denied relief on his Sixth Amendment claim regarding his prior

convictions and to his Eighth Amendment claim regarding cruel and unusual


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punishment. In addition to the reasons found by the Magistrate Judge, this Court

notes that the defendant has procedurally defaulted the consideration of these issues

because he raised them for the first time in his section 2255 motion. See United States

v. Henry, 71 Fed. Appx. 493 (6th Cir. 2003) (petitioner’s direct appeal); see also

United States v. Frady, 456 U.S. 152, 166 (1982); Elzy v. United States, 205 F.3d 882,

884 (2000).

              Thus, for the reasons stated, it is hereby ORDERED that the petitioner’s

objections are OVERRULED, that the Report and Recommendation is ADOPTED

and APPROVED with the elaborations above, and that the defendant’s motion to

vacate be DENIED, [Doc. 1 in 2:05-CV-15 and Doc. 267 in 2:00-CR-71].

              E N T E R:


                                                    s/J. RONNIE GREER
                                                UNITED STATES DISTRICT JUDGE




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